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                                                               United States Bankruptcy Court
                                                                        District of Massachusetts
 In re      Wally M Sabet                                                                           Case No.   13-43117
                                                                                   Debtor(s)        Chapter    7



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on February 5, 2019, a copy of Motion to ReOpen was served electronically or by regular
United States mail to all interested parties, the Trustee and all creditors listed below.

 Acme Waste Systems, Inc.
 PO Box 479
 Wilmington, MA 01887
 Advanced Auto Parts Professional
 1777 Main St
 Tewksbury, MA 01876-2002
 AIG Federal Savings Bank
 Aig Federal Savings Bank
 Po Box 8733
 Wilmington, DE 19899
 American Express
 PO Box 1270
 Newark, NJ 07101-1270
 Autotrader
 3003 Summit Blvd. A-200
 Atlanta, GA 30319
 Bank Of America
 Po Box 982235
 El Paso, TX 79998
 Bank of America
 PO Box 982235
 El Paso, TX 79998-2235
 Blue Cross Blue Shield
 401 Park Drive
 Boston, MA 02215-3326
 Cap1/bstby
 PO Box 183195
 Columbus, OH 43218-3195
 CarGurus LLC
 One Bow St, 4th Fl
 Cambridge, MA 02138
 Carsforsale.com, Inc.
 PO Box 91537
 Sioux Falls, SD 57109
 CBCS
 PO Box 163006
 Columbus, OH 43216-3006
 Citibank Usa
 Citicorp Credit Services/Attn:Centralize
 Po Box 20507
 Kansas City, MO 64195
 Citimortgage Inc
 Po Box 9438,dept 0251
 Gaithersburg, MD 20898
 Citimortgage Inc
 Po Box 9438,dept 0251
 Gaithersburg, MD 20898
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 Citizens Bank
 PO Box 18204
 Bridgeport, CT 06601-3204
 Citizens Bank
 PO Box 18204
 Bridgeport, CT 06601-3204
 Citizens Bank
 PO Box 18204
 Bridgeport, CT 06601-3204
 Citizens Bank
 PO Box 18204
 Bridgeport, CT 06601-3204
 Citizens Bank
 PO Box 18204
 Bridgeport, CT 06601-3204
 Citizens Bank
 PO Box 42115
 Providence, RI 02940-2115
 Commerce Insurance
 11 Gore Rd
 Webster, MA 01570
 Commonwealth of Massachusetts


 D&R Realty
 c/o Ray Nickerson
 2195 Main Street
 Tewksbury, MA 01876
 Dealer Car Search
 221 S Hurstbourne Pky, Ste 101
 Louisville, KY 40222
 Dealer Specialties
 325 Knox Road Bldg L-200
 Tallahassee, FL 32303
 Dealer Specialties Dominion
 325 John Knox Rd, Ste L-200
 Tallahassee, FL 32303
 Deetto Card Services
 PO Box 3997
 Saint Joseph, MO 64503-1600
 Deluxe for Business
 PO Box 742572
 Cincinnati, OH 45274-2572
 Deluxe for Business
 PO Box 742572
 Cincinnati, OH 45274-2572
 Dsnb Macys
 9111 Duke Blvd
 Mason, OH 45040
 Elan Financial Service
 777 E Wisconsin Ave
 Milwaukee, WI 53202
 ET Cote Auto Exchange
 37 Ninth Street
 Leominster, MA 01453
 GE Capital retail Bank
 PO Box 965033
 Orlando, FL 32896-5033
 GECRB/ HH Gregg
 Attention: Bankruptcy
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 Po Box 103104
 Roswell, GA 30076
 Gecrb/Care Credit
 Attn: bankruptcy
 Po Box 103104
 Roswell, GA 30076
 Gecrb/sleepys
 Po Box 981439
 El Paso, TX 79998
 GetAuto
 325 John Knox Rd, Bldg. L-200
 Tallahassee, FL 32303
 Greater Boston Auto Ware
 Rich Cook
 18 Pleasant St
 Georgetown, MA 01833
 Greater Boston's Lynnway Auto Auction
 400 Charter Way
 North Billerica, MA 01862
 Internal Revenue Service
 PO Box 7346
 Philadelphia, PA 19101-7346
 Iris M Perez
 553 White St
 Springfield, MA 01108
 James J McNulty, Esq
 40 Court St #1150
 Boston, MA 02108-2202
 Jeannine Gauthier
 33 Dexter Ave
 Dracut, MA 01826
 Jonathan Neil & Assoc.
 71 W. Main St. #304
 Freehold, NJ 07728
 JP Morgan Chase
 PO Box 15298
 Wilmington, DE 19850-5123
 L&M Radiology, Inc
 Brian Murphy MD c/o Merrimack Imaging
 500 Merrimack Street
 Lawrence, MA 01843
 Lawrence General Hospital
 One General Street
 Lawrence, MA 01842
 Lawrence General Hospital
 One General Street
 Lawrence, MA 01842
 Lawrence General Hospital
 118 Lukens Dr
 River Edge Park
 New Castle, DE 19720-2727
 MA Department of Revenue
 Bankruptcy Unit
 PO Box 9564
 Boston, MA 02114-9564
 Macys
 PO Box 183083
 Columbus, OH 43218-3083
 Methuen Glass
 468 Merrimack St
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 Methuen, MA 01844
 Metro Credit Uni
 200 Revere Beach P
 Chelsea, MA 02150
 Metropolitan Credit Un
 200 Revere Beach Pkwy
 Chelsea, MA 02150
 Metropolitan Credit Un
 200 Revere Beach Pkwy
 Chelsea, MA 02150
 Mojo Motors
 150 W 30th St
 Suite 1200
 New York, NY 10001
 National Credit Center, Inc.
 PO Box 740285
 Los Angeles, CA 90074-0285
 National Credit Center, Inc.
 PO Box 740285
 Los Angeles, CA 90074-0285
 National Grid
 PO Box 1040
 Northborough, MA 01532-4040
 National Grid
 PO Box 960
 Northborough, MA 01532
 National Grid
 PO Box 960
 Northborough, MA 01532
 National Grid
 PO Box 960
 Northborough, MA 01532
 Nature Springs Water Co.
 55 Franklin St
 Needham Heights, MA 02494
 NextGear Capital, Inc.
 1320 City Center Drive, Ste 100
 Carmel, IN 46032
 NextGear Capital, Inc.
 1320 City Center Drive, Ste 100
 Carmel, IN 46032
 NextGear Capital, Inc.
 1320 City Center Drive, Ste 100
 Carmel, IN 46032
 NextGear Capital, Inc.
 1320 City Center Drive, Ste 100
 Carmel, IN 46032
 NextGear Capital, Inc.
 1320 City Center Drive, Ste 100
 Carmel, IN 46032
 Priscilla Nickerson/D&R Realty
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 One Sprague St
 Revere, MA 02151
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 PO Box 867
 Plaistow, NH 03865
 Robert Maria
 c/o Wendy O'Linsky, Esq.
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 380 Merrimack St, Ste 2E
 Methuen, MA 01844
 Shamrock Finance LLC
 c/o Kimberlee Nauges
 141 Wood Rd, Ste 200
 Braintree, MA 02184
 Sovereign Bank
 1130 Berkshire Blvd
 Reading, PA 19610
 Springleaf Financial S
 Po Box 969
 Evansville, IN 47706
 Sst/columbus Bank&trus
 Attn:Bankruptcy
 Po Box 3997
 St. Joseph, MO 64503
 Town of Tewksbury
 Treasurer-Collector
 11 Town Hall Avenue
 Tewksbury, MA 01876-4733
 Utica National Insurance Group
 PO Box 6532
 Utica, NY 13504-6532
 Vehix.com
 c/o Szabo Associates, Inc
 3355 Lenox Rd NE #945
 Atlanta, GA 30326
 Verizon
 PO Box 15124
 Albany, NY 12212-5124
 Wells Fargo Business Direct
 PO Box 348750
 Sacramento, CA 95834
 Wells Fargo Financial Nat'l Bk/Bobs Disc
 Po Box 10438
 Des Moines, IA 50306
 Workers Credit Union
 815 Main St
 Fitchburg, MA 01420
 Workers Credit Union
 Cardmember Service
 PO Box 6335
 Fargo, ND 58125-6335
 WorldPay
 600 Morgan Falls Rd #260
 Atlanta, GA 30350



                                                                               /s/ Kenneth P. Doherty
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